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 Counsel for Highland Capital Management, L.P.

                             IN THE UNITED STATES DISTRICT COURT
                             FOR THE NORTHERN DISTRICT OF TEXAS
                                       DALLAS DIVISION

 HIGHLAND CAPITAL MANAGEMENT, L.P.,                §
                                                   §
                                  Plaintiff,       §   Case No. 3:21-cv-00881-X
                                                   §
 vs.                                               §
                                                   §
 HIGHLAND CAPITAL MANAGEMENT FUND                  §   (Consolidated with 3:21-cv-00880-X,
 ADVISORS, L.P., et al.,                           §   3:21-cv-01010-X, 3:21-cv-01378-X,
                                                   §   3:21-cv-01379-X)
                                  Defendants.      §
                                                   §

       APPENDIX AND DECLARATION OF GREGORY V. DEMO IN SUPPORT OF
        HIGHLAND CAPITAL MANAGEMENT, L.P.’S OMNIBUS OBJECTION TO
           MOTIONS TO STRIKE REPLY AND SUPPORTING EXHIBITS OR,
              ALTERNATIVELY, FOR LEAVE TO FILE A SURREPLY




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           1.        I am an attorney at the law firm of Pachulski Stang Ziehl & Jones LLP, counsel to

 Highland Capital Management, L.P., the movant in the above-captioned case (“HCMLP”). I

 submit this supplemental appendix and declaration (the “Declaration”) in support of HCMLP’s

 Omnibus Objection to Motions to Strike Reply and Supporting Exhibits or, Alternatively, for Leave

 to File a Surreply.

           2.        This Declaration is based on my personal knowledge and review of the documents

 listed below. Each of the documents in the following chart is a true and correct copy.

Ex.                                           Description                                        Appx. #

1.       Redline of Chart showing the litigation caused by the Dondero Entities                   1 - 20

         Redline of Highland Capital Management, L.P.’s Reply to Objections to Motion to
2.                                                                                               21 - 53
         Deem the Dondero Entities Vexatious Litigants and for Related Relief


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 Dated: March 4, 2024            /s/ Gregory V. Demo
                                 Gregory V. Demo




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